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Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF DISTRICT OF COLUMBIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Across the Pond, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1732 & 1734 Connecticut Ave Nw
                                  Washington, DC 20009
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  District of Columbia                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       acrosstheponddc.com


6.   Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                       Partnership (excluding LLP)
                                       Other. Specify:




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Debtor    Across the Pond, LLC                                                                          Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the                Chapter 7
     debtor filing?
                                           Chapter 9
     A debtor who is a “small
                                           Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     a “small business debtor”)                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     must check the second                                        debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     sub-box.                                                     proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                      Relationship
                                                 District                                  When                              Case number, if known

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Debtor   Across the Pond, LLC                                                                      Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any          Yes.
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




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Debtor   Across the Pond, LLC                                                                      Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on        May 28, 2024
                                                  MM / DD / YYYY


                             X /s/       Michael Waters                                                    Michael Waters
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    Principal Owner




18. Signature of attorney    X /s/ Jeffery T. Martin,, Jr.                                                 Date    May 28, 2024
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Jeffery T. Martin,, Jr. VA71860
                                 Printed name

                                 Martin Law Group PC
                                 Firm name

                                 8065 Leesburg Pike
                                 Suite 750
                                 Vienna, VA 22182
                                 Number, Street, City, State & ZIP Code


                                 Contact phone      (703) 223-1822               Email address      jeff@martinlawgroupva.com

                                 VA71860 DC
                                 Bar number and State




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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLUMBIA

                                                       )
In re:                                                 )
                                                       )
ACROSS THE POND LLC;                                   )       Case No. 24-
                                                       )
                                                       )
                Debtor and Debtor in Possession.       )       Chapter 11
                                                       )

          STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION

         I, Michael Waters, declare under penalty of perjury that I am the managing member of

ACROSS THE POND LLC, and that the following is a true and correct copy of the resolutions

adopted by the managing members of said limited liability company at a special meeting duly

called and held on the 28th day of May 2024.

                "Whereas, it is in the best interest of this limited liability company
                to file a voluntary petition in the United States Bankruptcy Court
                pursuant to Chapter 11 of Title 11 of the United States Code;

                Be It Therefore Resolved, that Michael Waters, managing member
                of this limited liability company, is authorized and directed to
                execute and deliver all documents necessary to perfect the filing of
                a Chapter 11 voluntary bankruptcy case on behalf of the limited
                liability company; and

                Be It Further Resolved, that Michael Waters, managing member of
                this limited liability company is authorized and directed to appear
                in all bankruptcy proceedings on behalf of the limited liability
                company, and to otherwise do and perform all acts and deeds and
                to execute and deliver all necessary documents on behalf of the
                limited liability company in connection with such bankruptcy case,
                and

                Be It Further Resolved, that Michael Waters, of this limited
                liability company is authorized and directed to employ Jeffery T.
                Martin, Jr., attorney and the law firm of Martin Law Group PC to
                represent the limited liability company in such bankruptcy case.”

Date Signed: May 28, 2024                              Michael Waters
                                                       Michael Waters, managing member
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                                Resolution of Managing Members
                                               of
                                   ACROSS THE POND LLC

        Whereas, it is in the best interest of this limited liability company to file a voluntary

petition in the United States Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United

States Code;

        Be It Therefore Resolved, that Michael Waters, managing member of this limited liability

company, is authorized and directed to execute and deliver all documents necessary to perfect the

filing of a Chapter 11 voluntary bankruptcy case on behalf of the limited liability company; and

        Be It Further Resolved, that Michael Waters, managing member of this limited liability

company is authorized and directed to appear in all bankruptcy proceedings on behalf of the

limited liability company, and to otherwise do and perform all acts and deeds and to execute and

deliver all necessary documents on behalf of the limited liability company in connection with

such bankruptcy case, and

        Be It Further Resolved, that Michael Waters, of this limited liability company is

authorized and directed to employ Jeffery T. Martin, Jr. and John E. Reid, attorneys and the law

firm of Martin Law Group P.C. to represent the limited liability company in such bankruptcy

case.


Date Signed: May 28, 2024                              Michael Waters
                                                       Michael Waters, managing member
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 Fill in this information to identify the case:
 Debtor name Across the Pond, LLC
 United States Bankruptcy Court for the: DISTRICT OF DISTRICT OF                                                                                      Check if this is an
                                                COLUMBIA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 BFPE Inernational                                                                                                                                                          $5,445.70
 Inc.
 7512 Connelley Dr
 Hanover, MD 21076
 Buck Head Meat and                                                                                                                                                               $0.00
 Seafood Mid Atlantic
 1920 Stanford, Ct
 Hyattsville, MD 20785
 Collections Company                                                                                                                                                              $0.00
 AGA
 740 Walt Whitman Rd
 Melville, NY 11747
 DawnMarie Doerr                                                                                                                                                          $13,512.46

 EIDL Loan                                                                                                                                                              $719,232.16
 Department of the
 Treasury
 200 CrossKeys Office
 Park
 Fairport, NY 14450
 Jani King of                                                                                                                                                             $10,500.00
 Washington DC, Inc
 P O Box 741360
 Atlanta, GA 30384
 Pepco                                                                                                                                                                    $10,593.00
 P.O Box 13608
 Philadelphia, PA
 19101
 Pepco                                                                                                                                                                      $4,653.61
 P.O Box 13608
 Philadelphia, PA
 19101
 Travelers                                                                                                                                                                $17,015.00
 Insurance-Credit
 Collection
 725 Canton Street
 Norwood, MA 02062


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Across the Pond, LLC                                                                               Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Travelers                                                                                                                                                                  $5,107.36
 Insurance-Leviton
 Law Firm,LTD
 One Pierce Place
 Drive
 Itasca, IL 60143




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                            BFPE Inernational Inc.
                            7512 Connelley Dr
                            Hanover, MD 21076


                            Buck Head Meat and Seafood Mid Atlantic
                            1920 Stanford, Ct
                            Hyattsville, MD 20785


                            Collections Company AGA
                            740 Walt Whitman Rd
                            Melville, NY 11747


                            DawnMarie Doerr


                            EIDL Loan Department of the Treasury
                            200 CrossKeys Office Park
                            Fairport, NY 14450


                            Jani King of Washington DC, Inc
                            P O Box 741360
                            Atlanta, GA 30384


                            Pepco
                            P.O Box 13608
                            Philadelphia, PA 19101


                            Travelers Insurance-Credit Collection
                            725 Canton Street
                            Norwood, MA 02062


                            Travelers Insurance-Leviton Law Firm,LTD
                            One Pierce Place Drive
                            Itasca, IL 60143
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                                                                     United States Bankruptcy Court
                                                                       District of District of Columbia
  In re      Across the Pond, LLC                                                                            Case No.
                                                                                       Debtor(s)             Chapter    11




                                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Across the Pond, LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class
of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



     None [Check if applicable]




  May 28, 2024                                                           /s/ Jeffery T. Martin,, Jr.
 Date                                                                    Jeffery T. Martin,, Jr. VA71860
                                                                         Signature of Attorney or Litigant
                                                                         Counsel for Across the Pond, LLC
                                                                         Martin Law Group PC
                                                                         8065 Leesburg Pike
                                                                         Suite 750
                                                                         Vienna, VA 22182
                                                                         (703) 223-1822 Fax:
                                                                         jeff@martinlawgroupva.com




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